Case 5:06-cr-00014-MFU-JCH   Document 171   Filed 07/17/08   Page 1 of 6
                             Pageid#: 638
Case 5:06-cr-00014-MFU-JCH   Document 171   Filed 07/17/08   Page 2 of 6
                             Pageid#: 639
Case 5:06-cr-00014-MFU-JCH   Document 171   Filed 07/17/08   Page 3 of 6
                             Pageid#: 640
Case 5:06-cr-00014-MFU-JCH   Document 171   Filed 07/17/08   Page 4 of 6
                             Pageid#: 641
Case 5:06-cr-00014-MFU-JCH   Document 171   Filed 07/17/08   Page 5 of 6
                             Pageid#: 642
Case 5:06-cr-00014-MFU-JCH   Document 171   Filed 07/17/08   Page 6 of 6
                             Pageid#: 643
